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                        EXHIBIT C
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 C.A. No. 24-cv-20492-ALTMAN


   In re Application of                            :
                                                   :
   PHILIPPE MARTINEZ,                              :
   MSR MEDIA SKN LTD.,                             :
                                                   :
   Applicants, for an Order Pursuant to            :
   28 U.S.C. § 1782 to Conduct Discovery           :
   for Use in a Foreign Proceeding.                :


                     THIRD DECLARATION OF DAMIAN E. S. KELSICK

          Pursuant to 28 U.S.C. § 1746, I, DAMIAN E. S. KELSICK, declare:

          1.      I am an attorney-at-law and King’s Counsel in the Federation of Saint Christopher

   and Nevis (“St. Kitts and Nevis”). I was called to the Bar in 1992. I also am admitted to practice

   in Anguilla, Antigua and Barbuda, Grenada, Saint Lucia, and Saint Vincent and the Grenadines.

   I previously served as a High Court Judge in Antigua and Barbuda between May and July 2020,

   and as a High Court Judge in Anguilla in 2021. The High Courts of Antigua and Barbuda,

   Anguilla, and St. Kitts and Nevis are trial courts of the same Eastern Caribbean judicial system.

          2.      I represent Philippe Martinez and MSR Media SKN Ltd. (collectively,

   “Applicants”) in two civil proceedings arising from claims of defamation filed against

   Applicants in the High Court of Justice in St. Kitts and Nevis on December 8, 2023, and

   December 29, 2023.

          3.      I respectfully submit this Declaration in support of Applicants’ renewed

   application for an order under 28 U.S.C. § 1782 to conduct discovery for use in foreign

   proceedings.




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          4.      The requested relief is for the purposes of obtaining limited, but necessary,

   discovery in aid of two civil proceedings currently pending in the High Court of Justice in St.

   Kitts and Nevis, captioned Caribbean Galaxy Real Estate Corp. and Ying Jin v. MSR Media SKN

   Ltd. and Philippe Martinez (Case No. SKBHCV2023/0228, Dec. 8, 2023), and Dr. Timothy

   Harris v. Philippe Martinez and MSR Media SKN Ltd. (Case No. SKBHCV2023/0236, Dec. 29,

   2023). Copies of the claims filed against Applicants are attached as Exhibits 1 and 2. Copies of

   the defences filed by Applicants are annexed as Exhibits 3 and 4.

          5.      Unless otherwise noted, the facts set forth herein are based on my expertise as a

   St. Kitts and Nevis attorney-at-law or based on my personal knowledge, and I believe them to be

   true and correct to the best of my knowledge, information, and belief. Where I have provided a

   legal opinion, my legal opinion is informed by my extensive experience as King’s Counsel in St.

   Kitts and Nevis, as well as my experience as a judge in the Eastern Caribbean judicial system.

          6.      Applicant Philippe Martinez (“Martinez”) is a United States resident and

   successful film producer with a primary place of business in Florida. Martinez has produced

   numerous successful movies over the course of 30 years in the movie business.

          7.      Martinez founded, under St. Kitts and Nevis law, Applicant MSR Media SKN

   Ltd. (“MSR Media SKN”) and another corporate entity to bring the film industry to St. Kitts and

   Nevis. MSR Media SKN is a film production company that produces and films movies in St.

   Kitts and Nevis.

          8.      Applicants learned that an organized group of individuals and entities, including

   Caribbean Galaxy Real Estate Corp. (“Caribbean Galaxy”), Ying Jin, and Timothy Harris

   (collectively, “Foreign Plaintiffs”), engaged in a scheme to defraud the St. Kitts and Nevis

   Citizenship by Investment (“CBI”) program, in effect defrauding the people of St. Kitts and



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   Nevis as well as causing economic harm to investors in the country, including Applicants, who

   invested funds in St. Kitts and Nevis on the basis of the allocation to them of units for sale under

   the CBI program as a way to recoup their investments.

          9.      The St. Kitts and Nevis CBI Program offers citizenship to individuals in exchange

   for investment in the country. St. Kitts and Nevis law requires strict due diligence in compliance

   with national and international standards. Despite the rigorous requirements of citizenship, St.

   Kitts and Nevis—which is home to approximately 50,000 residents—has been reported to have

   granted over 40,000 new passports through its CBI program to date. However, the Government

   of St. Kitts and Nevis has never officially disclosed the actual number of passports issued.

          10.     In May 2022, Applicant MSR Media SKN and its affiliated entity MSR Hotels

   were granted 615 CBI units relating to their significant investment in the film industry in St.

   Kitts and Nevis. In May 2023, these units were transferred to the Approved Public Benefit

   program. Under the current laws of St. Kitts and Nevis, Applicant MSR Media SKN is required

   to sell its CBI units for US $250,000. 1

          11.     Separately, in 2021, the Government of St. Kitts and Nevis granted 5,500 CBI

   units—an unprecedented amount—to Caribbean Galaxy in exchange for Caribbean Galaxy’s

   commitment to build a public incarceration facility (“Jail Project”) in St. Kitts. At the time of

   the approval, the statutorily mandated price of CBI units was US $175,000, but Caribbean

   Galaxy admittedly sold their units at prices that were less than the legally mandated price. It has

   been reported that the reduction was by 40% or significantly more. In other words, Caribbean

   Galaxy undercut its competitors, and was permitted to do so by the Government of St. Kitts and



    Upon the initial approval, Applicant and its affiliated entity were required to sell their CBI units
   1


   at $200,000 per unit; however, St. Kitts and Nevis regulations were amended in July 2023 to
   increase the required sale price.

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   Nevis, by flooding the entire CBI market with its vast reserve of CBI units priced at $100,000 or

   less—potentially as low as $50,000. 2

            12.   The current Attorney General of St. Kitts and Nevis, Garth Wilkin, admitted to an

   associate of Applicants that Caribbean Galaxy sold CBI units for well below the statutory

   amount at an extremely high volume, resulting in at least $60 million in revenue from the sale of

   CBI units associated with the Jail Project. He also stated that this conduct represented a “good

   scam.”




   [continued next page]




    See, e.g., KN WHOOP AI, Mash It Up, Then Fix It Back! CBI Program. Hon. Mark Brantley,
   2


   YOUTUBE (Nov. 16, 2023), https://www.youtube.com/watch?v=c8Xfb2nsU3E (radio interview
   with Premier of Nevis Mark Brantley, a Cabinet official at the time the CBI units were awarded
   to Caribbean Galaxy for the Jail Project, who has direct knowledge, describing the scheme and
   that the St. Kitts and Nevis government was aware of the scheme).

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      Screenshot of conversation between Attorney General Garth Wilkin (messages with white
      background) and one of Applicants’ advisors, Dwyer Astaphan (message with green
      background), discussing Caribbean Galaxy’s scam, received by Applicants on August 14,
      2023.

          13.     In this WhatsApp message, the references to “Galaxy” and “Tim/PLP” are likely

   references, respectively, to Foreign Plaintiff Caribbean Galaxy and Foreign Plaintiff Timothy

   Harris, who was Prime Minister of St. Kitts and Nevis from February 2015 until August 2022,

   and his political party, the “People’s Labour Party.”



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          14.     Funds associated with the sale of CBI units are required to be held in escrow at a

   financial institution in St. Kitts and Nevis. Foreign Plaintiff Harris, likely advised by former

   head of the Citizenship by Investment Unit, Leslie Khan, issued regulations in 2021 that

   eliminated this requirement for CBI units granted for the Jail Project. This tactic allowed

   Caribbean Galaxy to bypass the escrow rules that bound their law-abiding CBI competitors.

          15.     In addition, upon information and belief, Foreign Plaintiffs Caribbean Galaxy and

   Ying Jin agreed to pay Khan and Foreign Plaintiff Harris several thousands of dollars per CBI

   unit sold. The kickbacks to Harris and Khan represent a total potential value of tens of millions

   of dollars. Khan admitted in a recorded conversation that he earned almost $2 million per year

   during his time as head of the Citizenship by Investment Unit.

          16.     On information and belief, Khan and Harris used a portion of the proceeds from

   the scheme to enrich themselves and obtain real estate in the United States as well as luxury

   goods, and Khan and Foreign Plaintiff Harris also diverted a portion of the illicit proceeds from

   the scheme to offshore bank accounts.

          17.     Applicants learned of the scheme through their own investigation into the St. Kitts

   and Nevis CBI program and directed several letters and other communications to the individuals

   involved in this scheme as well as government officials, describing the egregious conduct and

   negative financial impact on Applicants’ business and investments in the country and requesting

   that the government of St. Kitts and Nevis investigate the allegations for itself.

          18.     Applicants authored a letter dated November 17, 2023 (“Letter”) describing the

   scheme. On December 8, 2023, Caribbean Galaxy and Ying Jin, its former CEO, filed suit

   against Applicants for defamation in the High Court of Justice in St. Kitts and Nevis regarding




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   the Letter. Both Applicant MSR Media SKN and Applicant Martinez have filed defences to this

   claim, including justification. Trial Directions have been given.

             19.   On December 29, 2023, former Prime Minister Timothy Harris, who is also a

   current member of the National Assembly of St. Kitts and Nevis, filed a similar defamation suit

   in the High Court of Justice in St. Kitts and Nevis for statements contained in the same Letter.

   Both Martinez and MSR Media SKN have been served and filed their defence to this claim,

   including justification. The parties are awaiting Trial Directions.

             20.   As part of their defences, Applicants seek documentary evidence of CBI-related

   transactions into and out of U.S. bank accounts as well as transactions that passed through U.S.

   banks, including Bank of America, N.A., Wells Fargo Bank, N.A., and JP Morgan Chase

   (collectively, the “Respondent Banks”), to demonstrate the truth of the allegations made in the

   Letter.

             21.   Applicants reasonably believe that at least some of the relevant transactions

   involved the Respondent Banks. Funds associated with CBI transactions are executed in U.S.

   dollars and therefore flow through U.S. banks. Cross-border transactions in U.S. dollars

   (“USD”) into and out of St. Kitts and Nevis necessarily require the use of a correspondent or

   intermediary U.S. bank that maintains relationships with the originating and beneficiary banks.

   Upon information and belief, Respondent Bank of America was, for at least part of the relevant

   time frame, one of the correspondent U.S. banks used by St. Kitts-Nevis-Anguilla National Bank

   (“National Bank”) for USD transactions originating from or ending in the Caribbean. Upon

   information and belief, Wells Fargo, N.A. and JP Morgan Chase also served as correspondent

   U.S. banks for the National Bank or other Caribbean banks during at least part of the relevant

   time frame. Upon information and belief, a significant amount of the funds related to CBI



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   applications in St. Kitts and Nevis for the past several years have been funneled through National

   Bank.

           22.    Upon information and belief, Caribbean Galaxy maintains a USD-denominated

   account at Hang Seng Bank Limited, based in Hong Kong, which it used to facilitate such USD

   transactions. Caribbean Galaxy also maintains wire transfer instructions indicating that the

   Miami branch of Respondent Bank of America, located at 100 SE 2nd Street, Miami, Florida

   33131, is the intermediary bank to move USD-denominated funds into Caribbean Galaxy’s

   account at National Bank.

           23.    The Respondent Banks are not parties to the Defamation Proceedings and are

   beyond the jurisdictional reach of the courts in St. Kitts and Nevis.

           24.    Absent assistance obtained through the instant 28 U.S.C. § 1782 renewed

   application, Applicants have no practicable method to obtain highly relevant evidence in the

   possession, custody, or control of the Respondent Banks.

           25.    Records of all transactions to or from any individuals or entities that Applicants

   have reason to believe were directly or indirectly involved in sale of CBI units at an undervalue

   and/or payment of bribes would support the veracity of the allegedly defamatory statements

   contained in the Letter and at issue in the Defamation Proceedings. Therefore, the records

   requested from the Respondent Banks are highly relevant to Applicants’ defences.

           26.    Such records are likely to be admitted into evidence in the Defamation

   Proceedings. In fact, financial records are routinely sought and admitted in litigation before the

   High Court of Justice in St. Kitts and Nevis, and the High Court of Justice has not indicated in

   the Defamation Proceedings that it would not accept the evidence sought by the Applicants.




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